                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA



PAUL CLARK                                        CIVIL ACTION NO. 2:18-cv-05076

VERSUS                                            JUDGE: MARY ANN VIAL LEMMON

JIRI JANDA, WERNER ENTERPRISES, INC.              MAGISTRATE: DANA M. DOUGLAS
OF NEBRASKA, AND ACE AMERICAN
INSURANCE COMPANY

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                           REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Civil Rule 78.1, Plaintiff-in-Counterclaim, Werner Enterprises, Inc.,

submits this written request for oral argument on Defendant-in-Counterclaim’s Motion to

Dismiss Counterclaim. Plaintiff-in-Counterclaim requests that this matter be set for hearing and

that the parties be afforded the opportunity to present oral arguments and respond to questioning

by this Honorable Court.

                                                    Respectfully submitted,

      CERTIFICATE OF SERVICE                        /s/ Guy D. Perrier_____________
                                                    GUY D. PERRIER, #20323
        I hereby certify that the foregoing         DUSTIN L. POCHÉ, #33451
pleading has been delivered to all counsel          PERRIER & LACOSTE, LLC
of record through the CM/ECF system this            One Canal Place
4th day of March, 2019.                             365 Canal Street, Suite 2550
                                                    New Orleans, Louisiana 70130
            /s/ Guy D. Perrier                      Tel: (504) 212-8820;
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                                                    ATTORNEYS FOR DEFENDANT,
                                                    WERNER ENTERPRISES, INC.
